Case 1:24-cv-23006-CMA Document 9 Entered on FLSD Docket 09/03/2024 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-23006-CIV-ALTONAGA/Reid

 NIGEL FRANK DE LA TORRE PARDO,

        Plaintiff,
 v.

 THE ANVIL 14654 INC; et al.,

       Defendants.
 ________________________________/

                               ORDER ON DEFAULT PROCEDURE

        THIS CAUSE came before the Court sua sponte. On August 8 and 9, 2024, respectively,

 Plaintiff, Nigel Frank De La Torre Pardo served a copy of the Summons [ECF No. 3] and

 Complaint [ECF No. 1] on Defendants, Presouth, Inc. and The Anvil 14654 Inc. (See Returns of

 Service [ECF Nos. 4, 7]). To date, neither Defendant has answered or otherwise responded.

        Accordingly, it is

        ORDERED that Plaintiff shall submit a motion for entry of Clerk’s defaults no later than

 September 6, 2024, that includes the certificates of service indicating that notices were sent to

 Defendants, including the addresses to which they were sent. Plaintiff’s failure to file the motion

 for entry of Clerk’s defaults within the specified time may result in a dismissal without prejudice

 and without further notice.

        DONE AND ORDERED in Miami, Florida, this 3rd day of September, 2024.



                                                _______________________________________
                                                CECILIA M. ALTONAGA
                                                CHIEF UNITED STATES DISTRICT JUDGE
 cc:    counsel of record
